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        STEPHEN M. LOBBIN
        sml@smlavvocati.com
    2   SML AVVOCATI P.C.
    3
        888 Prospect Street, Suite 200
        San Diego, California 92037
    4   (949) 636-1391 (Phone)
    5
        Attorney(s) for Display Technologies, LLC
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    7
                          IN THE UNITED STATES DISTRICT COURT
    8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   10
         DISPLAY TECHNOLOGIES,
         LLC,                                    CASE NO.: 2:22-cv-02897-MCS-RAO
   11
                              Plaintiff,         NOTICE OF VOLUNTARY
   12                                            DISMISSAL WITH PREJUDICE
         v.
   13

   14    EPSILON ELECTRONICS,
         INC., d/b/a POWER
   15    ACOUSTIK,
   16                         Defendant.
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   19            Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
   20   Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
   21   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
   22   by the plaintiff without order of court by filing a notice of dismissal at any time before
   23   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
   24   dismisses this action against Defendant Epsilon Electronics, Inc. d/b/a Power Acoustik
   25   with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and
   26   costs.
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                              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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    1   Dated: August 29, 2022               Respectfully submitted,
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                                             /s/Stephen M. Lobbin
    3                                        Stephen M. Lobbin
    4
                                             sml@smlavvocati.com
                                             SML AVVOCATI P.C.
    5                                        888 Prospect Street, Suite 200
    6                                        San Diego, California 92037
                                             (949) 636-1391 (Phone)
    7

    8                                        Attorney(s) for Plaintiff

    9                            CERTIFICATE OF SERVICE
   10
               I hereby certify that on August 29, 2022, I electronically transmitted the
   11   foregoing document using the CM/ECF system for filing, which will transmit the
   12   document electronically to all registered participants as identified on the Notice of
        Electronic Filing, and paper copies have been served on those indicated as non-
   13   registered participants.
   14                                         /s/Stephen M. Lobbin
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                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
